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Order #1405 confirmed

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Karl Forsalt cHorceG@ymall. com

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ORDER #1405

Thank you for your purchase!

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Order summary

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Customer information

Shipping address

Carl Forseil

Nones Pte Lid

8 St Martin's Dr

03-21 St Martin Residence
Singapore 258005
Singapora

Shipping method
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or Visit our store

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Subtotal $187,200.00
Shipping $773.09

Total $187,973.09 USD

Billing address

Carl Forselt

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8 St Martin's Dr

#03-21 St Martin Residence
Singapore 268005
Singapore

Payment method
Bank deposit — $187,973.09

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